   Case 22-15009-JKS               Doc 34 Filed 12/22/22 Entered 12/23/22 00:14:49                               Desc Imaged
                                        Certificate of Notice Page 1 of 3
Form 148 − ntcdsmcs

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
MLK Jr Federal Building
50 Walnut Street
Newark, NJ 07102

                                         Case No.: 22−15009−JKS
                                         Chapter: 13
                                         Judge: John K. Sherwood

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Eilene DaSilva
   aka Eliene Silva, aka Elaine Silva, aka
   Eleine C DaSilva
   81 Chestnut Street
   Livingston, NJ 07039
Social Security No.:
   xxx−xx−8126
Employer's Tax I.D. No.:


                                    NOTICE OF ORDER DISMISSING CASE



      NOTICE IS HEREBY GIVEN that an Order Dismissing the above captioned Case was entered on 12/20/22.

      Any discharge which was granted in this case is vacated. All outstanding fees to the Court incurred by the
dismissed debtor(s) are due and owing and must be paid within seven (7) days from the date of this Order.

      This dismissal may mean that the debtor is ineligible to file another bankruptcy petition for 180 days under 11
U.S.C. § 109(g).




Dated: December 20, 2022
JAN: rah

                                                                         Jeanne Naughton
                                                                         Clerk
       Case 22-15009-JKS                    Doc 34 Filed 12/22/22 Entered 12/23/22 00:14:49                                              Desc Imaged
                                                 Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 22-15009-JKS
Eilene DaSilva                                                                                                         Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-2                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 20, 2022                                               Form ID: 148                                                              Total Noticed: 17
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 22, 2022:
Recip ID                 Recipient Name and Address
db                     + Eilene DaSilva, 81 Chestnut Street, Livingston, NJ 07039-5514
519642998              + Livingston Township, 357 South Livingston Avenue, Attn: Water I Sewer Department, Livingston, NJ 07039-3927
519642999              + Livingston Township, 357 South Livingston Avenue, Attn: water/sewer, Livingston, NJ 07039-3927
519643000              + Livingston Township, Tax Collector, 204 Hillside Avenue, Livingston, NJ 07039-3646
519643006              + New Jersey American Water, 233 Canoe Brook Road, Short Hills, NJ 07078-1013
519643004                New Jersey American Water, PO Box 371331, Pittsburgh, PA 15250-7331
519643007              + New Jersey American Water, 7303 Plantation Road, Pensacola, FL 32504-6335
519643009              + Shellpoint Mortgage, PO Box 740039, Cincinnati, OH 45274-0039
519643002              + Shellpoint Mortgage Service LLC Company, PO Box 10826, Greenville, SC 29603-0826

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Dec 20 2022 20:34:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Dec 20 2022 20:34:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
519643005              + Email/Text: csc.bankruptcy@amwater.com
                                                                                        Dec 20 2022 20:34:00      New Jersey American Water, PO Box 578, Alton,
                                                                                                                  IL 62002-0578
519643008              + Email/Text: mtgbk@shellpointmtg.com
                                                                                        Dec 20 2022 20:34:00      Shellpoint Mortgage, 55 Beattie Place, Greenville,
                                                                                                                  SC 29601-2165
519643010              + Email/Text: mtgbk@shellpointmtg.com
                                                                                        Dec 20 2022 20:34:00      Shellpoint Mortgage Inc, 55 Beattie Place,
                                                                                                                  Greenvill, SC 29601-2165
519643001              + Email/Text: mtgbk@shellpointmtg.com
                                                                                        Dec 20 2022 20:34:00      Shellpoint Mortgage Service LLC, PO Box 10826,
                                                                                                                  Greenville, SC 29603-0826
519643003              + Email/Text: mtgbk@shellpointmtg.com
                                                                                        Dec 20 2022 20:34:00      Shellpoint Mortgage Servicing, Attn: Bankruptcy,
                                                                                                                  PO Box 10826, Greenville, SC 29603-0826
519694083                  Email/Text: mtgbk@shellpointmtg.com
                                                                                        Dec 20 2022 20:34:00      THE BANK OF NEW YORK MELLON FKA
                                                                                                                  THE BANK OF NEW YO, PO Box 10826,
                                                                                                                  Greenville, SC 29603-0826

TOTAL: 8


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
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                                              Certificate of Notice Page 3 of 3
District/off: 0312-2                                             User: admin                                                            Page 2 of 2
Date Rcvd: Dec 20, 2022                                          Form ID: 148                                                         Total Noticed: 17

I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 22, 2022                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 20, 2022 at the address(es) listed
below:
Name                            Email Address
Marie-Ann Greenberg
                                magecf@magtrustee.com

Phillip Andrew Raymond
                                on behalf of Creditor THE BANK OF NEW YORK MELLON FKA THE BANK OF NEW YORK
                                phillip.raymond@mccalla.com mccallaecf@ecf.courtdrive.com

U.S. Trustee
                                USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 3
